









Petition for Writ of Mandamus Dismissed and Opinion filed February 13,
2003









Petition for Writ of Mandamus Dismissed and Opinion
filed February 13, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

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&nbsp;

NO. 14-03-00092-CV

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&nbsp;

IN RE JOHN FERNANDEZ, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

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&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On January 31, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002);&nbsp; see also
Tex. R. App. P. 52.&nbsp; On February 10, 2003, relator
filed a motion to dismiss his petition because the proceeding has been rendered
moot.&nbsp; We grant the motion.

Accordingly, we dismiss as moot relator=s petition for writ of mandamus.

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition
Dismissed and Opinion filed February 13, 2003.

Panel consists of
Justices Edelman, Seymore, and Guzman.

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